Case. 2:15-cv-11080-MOB-APP €CF No. 16-11, PagelD.415 Filed 04/07/15 Page.1 of 4

. COLEMAN A. YOUNG MUNICIPAL CENTER -

: “ : ce _ 2 Wooowarn AVE., FOURTH Floor’

~ CI OF Deter a So, _ Deraorr, ‘MICHIGAN 48226 :

Bur.nincs, SAFETY Enarve SRING AND ENVIRONMENTAL Durarimenr (313) 2344 0484 « TTY: 11
a WWW, DETROITMLGOY. Be |

March 9, 2015 9

Kevin Jones, Manager oe _ -.-.\ Southwest Metals, Inc./ Joseph/Steyen Fawaz
- BSEED Business License Center Ce ce

2 Woodward Avenue, Ste402-. = ———Ss BUS 2010-00432

CAYMC oo: Se Soper none:
_ Detroit, MI48226. 0 8122 Fort Street

. Detroit, MI 48209.

LETTER OF INTENT TO SUSPEND/REVOKE BUSINESS LICENSE

Re: Show Cause Hearing OS
Business License BUS2010-00432 -
: Hearing Case No.: 14-BLC-019

“th Jar anuary 2014, ‘The Buildings, Safety Engineering and Environmental - .
oo Department Business License Center(BLC)requested that the_ scrap iron pam metal —

° revoked for the reasons listed i in the attached Notice to Appear.

The. City” of. Detroit, “Buildings, Safety Engineering and. Environmental
Department BLC provided evidence that it will show proof that the business violated:

. Detroit City Code Section 30-1- -16(a)(2HC1(5)- Specified criminal activity Le La
~~ (relating to the selling and or: receiving of stolen scrap-metal) -

_«. Detroit City Code Section 30-1- V6(aX YC) The violation. of any state. 2a a |
ee nie & estenes cea |

Case 2:15-cv-11080-MOB-APP - ECF No. 16-11, PagelD.416 Filed O4/07/15

Page 2 of 4

© Detroit City Code Section 30-1-16(a)(2)E That the business to be licensed, |

.: OF Currently licensed by the City, constitutes a specific hazard or threat to

__. the peace, ‘health, safety or welfare of the public,

reasons stated,

This matter is_hereby scheduled for_a re-hearin
March 24,:2015 at-1:00 ;

Center, 2 Woodward Ave., Detroit, Michigan 48226.

This’ matter is_hereby scheduled for a. Show Cause Hearing
. April 15, 2015 at 1:00 p.m. at the offices of the Buildings, Safety Engineering and

. p.m, fora face to face conference, at the offices of the Buildings, :
Safety Engineering ‘and Environmental Department, 418 - Coleman A. Young ‘Municipal

Heneineeete THIS WILL BE A SECOND PRE-HEARING**++s#eeasiees -

‘on

Environmental Department, 418 Coleman Young Municipal Center, 2 Woodward Ave.,

vier

Detroit, Michigan 48226. a

If the City of Detroit BSEED or the business owner requires a change of date or

‘time of the pre-hearing conference or the Hearing, please contact BSEED Business License -

Center at (313) 224-3179,

pe Please note that due to reorganization, the Buildings, Safety Engineering and:
~~. Environmental Department, Business License Cenier performs the function previously handled:

~ by the Consumer Affairs Department. - on
- Please note also that ‘the business owner shall be
conference and Show Cause Hearing, otherwise the business will

“So  KevinJo

nes, Manager

o Business License Center - .
“eer. Eric Jones, Director, BSEED: .
ee City of Detroit Law Department

present at the pre-hearing
be subject to closure.

., FORT STREET.

Case 2:15-cv-11080-MOB-APP., ECF No. 16-11, PagelD.417 Filed 04/07/15 Page 3 0f4

STATE OF MICHIGAN
_” CYTY OF DETROIT |

BUILDINGS, SAFETY ENGINEERING AND ENVIRONMENTAL DEPARTMENT

DATE: 3/9/15. a

. : Southwest Metals, Inc./ Lo asta awaz
Business License BUS 2010- 0082 CASE NO: 14-BLC-019 -
- 8122 Fort Street :

Detroit, MI 48209 |

NOTICE TO APPEAR»

—————eE———
Before the City of Detroit, Buiings Safely Engineering and Environmenal Hearing Officer *
wes On. March 9 2015

PRESENT: RICHARD J. BOWERS, JR
Hearing Officer

THIS MATTER HAVING COME. before the’ City of Detroit, ‘Buildings Safety
Engineering & Environmental Department, Show Cause Hearings Division, upon the City of
Detroit's request for a Show Cause Hearing, and the Hearing Officer having been advised;

WHEREAS, The City of Detroit presented evidence arnounting to probable cause
that the business operation is is | in violation of the following:

* Detroit City Code Section 30- 4. 16(a)(2)(0)(5) specified criminal acivity oe
(relating to the selling and or receiving of stolen scrap metal). oe
- -@ Detroit. City Code Section 30- 1- “16(a)(1)(@)- ‘The violation of any s state .
~~ statute or. Code. cc ciceee oo
Detroit City Code Section 30- 1. 16(a)(2)(a)- Constitutes a public nuisance oe
«| Detroit City Code Section: 30-1-16(a)(2)f. That the business to be licensed,
“or currently licensed. by the City, constitutes a specific hazard, or threat to: D:
- : ‘the Peace, health; safety or welfare of the public, oo va

: WHEREAS, this Notice fo Appear i is notice of the City: of Detroit's intention to suspend -

eS

Or revoke the ou IRON AND METAL PROCESSOR B BUSINESS LICENSE AT 8122 :

- Engineering and Environmental Department, .

Case 2:15-cv-11080-MOB-APP_ECF No. 16-11, .PagelD.418 Filed 04/07/15 Page 4 of4

IT IS ORDERED that the City of Detroit, Buildings Safety Engineering and
. Environmental Department, Business License Center and its re resentatives and. the. owner §
of the business shall come before this Hearin Officer on

**THIS ISA SECOND PRE-HEARING'*+##*#

‘offices of the Buildings, Safety Engineering and Environmental Department, 418,
Coleman A. Young Municipal Center, 2 Woodward Ave., Detroit, Michigan - 48226.

TIS FURTHER ORDERED that the City of Detroit, t, Buildings Safety Engineering and
Environmental Department, Business License Center and its representatives and the owner(s) of
the business shall come before this Hearin Officer on: -

at the offices of the Buildings, Safety
“Coleman Young Municipal Center, 2

a is23018 a taT ai

Woodward Ave., Detroit, Michigan 48226 fo
show good cause. as to:

_ Whether the business license s for. Southwest t Metals, Inc, at 8122 Fort Street should oo

be suspended or reyoked pursuant to Chapter 30 of the Detroit City Code. -

Richard J. Bowers, In. POAT)
Hearing Officer ee

City of Detroit . 8
> Buildings, Safety Engineering and Environmental

ng to provide evidence and t to.

